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    %.AO 2458        (Rev. 12/11) Judgment in a Criminal Petty Case
                                                                                                                                    FILED
                     Sheet 1                                                                                                          .. - - .A.   v   ... .,,..,



                                                 UNITED STATES DISTRICT COUR' '                                            CLE11K US DISTRICT COURT
                                                                                                                        SOUTHERN DISTRICT OF CALIFOl"NIA
                                                     SOUTHERN DISTRICT OF CALIFORNIA                                    BY                      DEPUTY

                       UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                           v.                                        (For Offenses Committed On or After November I, 1987)

                      ARNOLD CRUZ RAMOS-LOPEZ                                        Case Number: !8CR2496-RNB
                                                                                      DAVID SILDORF, CJA
                                                                                     Defendant's Attorney
    REGISTRATION NO. 68877298

    Cl
    THE DEFENDANT:
    J81 pleaded guilty to count(s) I OF TI-IE MISDEMEANOR INFORMATION
    [I      was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _._ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                               Count
    Iitl~ & Sectio!l                            Nature of Offense                                                                             Number(s)
8:1325                                  IMPROPER ENTRY BY AN ALIEN (Misdemeanor)                                                               1




                The defendant is sentenced as provided in pages 2 through _~z~_ofthisjudgment.

  D The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  Jg!    Count(s) UNDERLYING COUNTS                                                 is   D   arefZI dismissed on the 1notion of the United States.
  C~ Assessment: $10 REMITTED




  ~J Fine not imposed                                   D
                                                 Forfeiture pmsrnmt to order filed                                          included herein.
          IT IS ORDERED that the defendant shall notify the United States Attomey for this district within 30 days of any change of name, residence,
         or inailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
         defendant shall notify the cou1t and United States Attorney of any n1aterial change in the defendant's eco~""T/~"''Y"'




                                                                                                                                                   18CR2496-RNB
           Case 3:18-cr-02496-RNB Document 9 Filed 05/16/18 PageID.12 Page 2 of 2

AO 2458      (Rev. 12111) Judgment in Criminal Petty Case
             Sheet 2 - Imprisonment
-~=========~===========~~~==========~======~================
                                                                                                       Judgment- Page _ _2_ of   _ _;2:;....__
DEFENDANT: ARNOLD CRUZ RAMOS-LOPEZ
CASE NUMBER: l8CR2496-RNB
                                                                 IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          TIME SERVED



     [] Sentence imposed pursuant to Title 8 USC Section 1326(b).
  ..0     The court makes the. following recommendations to the Bureau of Prisons:




     D The defendant is remanded to the custody oft11e United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
            Oat                                         Oa.m.       op.m.      on------------
                as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        D
        D as notified by the United States Marshal.
        D as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
I have executed this judgment as follows:

          Defendant delivered on                                                           to

at                                                          with a certified copy of this judgment.


                                                                                                      UNITED STA1ES MARSHAL


                                                                             By - - - - - -  --
                                                                                          DEPUTY  - -STATES
                                                                                                 UNITED ---   -------
                                                                                                            MARSHAL




                                                                                                                              18CR2496-RNB
